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August 4, 2022

Filed by ECF

Hon. Paul W. Grimm
U.S. District Court
6500 Cherrywood Lane, Suite 465A
Greenbelt, MD 20770

Re:      In re: Marriott Int’l, Inc. Customer Data Security Breach Litigation, 8:19-md-02879
         Parties’ Joint Response to the Court’s Letter Order (ECF No. 1052)

Dear Judge Grimm:

Pursuant to the parties’ June 20, 2022, correspondence (ECF 1040), and the Court’s order
adopting the same (ECF 1041), the parties have continued to meet and confer regarding
procedural next steps in the Consumer Track. The parties have discussed the following.

1.       The parties agree that the CCPA-related issues should continue while defendants’ appeals
         are pending and have agreed to the following schedule. (See ECF 1052 at 2 (“The parties
         shall abide by the timeline they set forth in ECF No. 1040 for exchanging competing
         discovery schedules and presenting joint or proposed schedules to the Court.”)):

          Deadline
          August 12, 2022       The parties will exchange competing schedules for that
                                discovery.
          August 19, 2022       The parties will present either joint or proposed schedule
                                proposals regarding that discovery to the Court.

      2. Plaintiffs also believe that limited discovery of Marriott related to questions of the
         calculation of damages pursuant to the Court’s modified class definition in its
         certification order should proceed. (See, e.g., ECF 1014 at 11 (“All classes proceeding
         under the overpayment theory shall only include persons who bore the economic burden
         for hotel room(s).”).)

         Marriott disagrees and believes this discovery should be stayed because the Fourth
         Circuit’s decision may impact whether such discovery is necessary.

         The parties have therefore agreed to the following briefing schedule for Marriott’s letter
         motion to stay this discovery. All letters should be three-pages or less, single-spaced.
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      Deadline
      Two weeks after    Marriott’s letter motion to stay limited damages discovery
      the Court order
      adopting this
      proposed schedule.
      Two weeks after         Plaintiffs’ opposition to letter motion to stay
      the filing of
      Marriott’s letter
      motion.
      One week after the      Marriott’s reply in support of letter motion to stay
      filing of plaintiffs’
      opposition.

3.   Except as stated in paragraphs 1 and 2, the parties agree that any steps in the Consumer
     Track that they have been discussing should continue to be stayed pending the Fourth
     Circuit’s resolution of the defendants’ appeals. To date, the parties have discussed the
     following specific steps that may be necessary following the Fourth Circuit’s decision:
     plaintiffs’ request for discovery from Marriott relating to potential injunctive relief, the
     Court’s modified class definition, and any related motions; plaintiffs’ potential renewed
     class certification motions following additional discovery; defendants’ request for
     discovery relating to 4discovery; defendants’ request for discovery relating to the
     bellwether plaintiffs; defendants’ request for third-party discovery; potential motion
     practice regarding whether certain bellwether plaintiffs meet the class definitions; all
     class-notice related tasks; Marriott’s extraction and production of relevant NDS data
     pursuant to the Court’s class definition; additional expert discovery (including the Court-
     ordered discovery from Drs. Prince and Tucker and additional merits-related expert
     discovery); and summary judgment.
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Respectfully submitted on behalf of the parties,

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